         Case 4:13-cr-00052-BMM Document 137 Filed 02/01/16 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                         CR 13-52-GF-BMM

                     Plaintiff,                           ORDER

 vs.

 DUSTIN JAY AFTER BUFFALO,

                     Defendant.

        This case was referred to United States Magistrate Judge John Johnston for a

revocation hearing and findings and recommendations. Judge Johnston entered his

findings and recommendations on January 13, 2016. Defendant admitted he had

violated Standard Condition 11 of his supervised release by failing to notify his

probation officer after contact with law enforcement, and he had violated Special

Condition 7 of his supervised release by consuming alcohol. Judge Johnston found

the admissions sufficient to establish the supervised release violations. He

recommended that this Court revoke Defendant's supervised release and commit

him to the custody of the United States Bureau of Prisons for a term of

imprisonment of three months, with 30 months of supervised release to follow.

Judge Johnston also recommended that the conditions of supervised release include

a condition requiring Defendant to reside in a residential reentry center for 180

days.
         Case 4:13-cr-00052-BMM Document 137 Filed 02/01/16 Page 2 of 2



      No objections were filed by either party. Judge Johnston’s findings

and recommendations are therefore reviewed for clear error. McDonnell

Douglas Corp. Commodore Bus. Mach, Inc., 656 F.2d 1309, 1319 (9th Cir.

1981).

      This Court agrees with Judge Johnston’s findings. Defendant admitted he

had violated Standard Condition 11 and Special Condition 7. Defendant could be

incarcerated for up to 24 months, followed by 33 months of supervised release less

any custody time imposed. The United States Sentencing Guidelines call for a

term of imprisonment of three to nine months. A sentence of three months in

custody, followed by 30 months of supervised release is appropriate. The sentence

is sufficient but not greater than necessary.

         IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 136) are ADOPTED in full and Judgment shall be entered accordingly.

      DATED this 1st day of February, 2016.




                                          -2-
